   1   Christopher R. Kaup (SBN 014820)
       Justin P. Nelson (SBN 032718)
   2
   3   SEVENTH FLOOR CAMELBACK ESPLANADE II
       2525 EAST CAMELBACK ROAD
   4   PHOENIX, ARIZONA 85016-4237
       TELEPHONE: (602) 255-6000
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       E-Mail: crk@tblaw.com; jpn@tblaw.com
   6   Attorneys for Loren and Margaret
       Youngman
   7
                           IN THE UNITED STATES BANKRUPTCY COURT
   8
                                  FOR THE DISTRICT OF ARIZONA
   9   In re:                                           Chapter 7 Proceedings

  10   James Bradley Bailey,                            Case No. 0:15-bk-12662-DPC
                              Debtor.                      STATEMENT OF POSITION ON
  11
                                                             TRUSTEE’S MOTION TO
  12                                                         APPROVE COMPROMISE

  13
  14            Creditor Loren Youngman (“Youngman”), by and through undersigned counsel,

  15   hereby states his position regarding the Trustee’s Motion to Approve Compromise (the

  16   “Motion”). Youngman does not object to the Motion but files this Statement to notify the

  17   Court and Inpro Investment Partners, LLC (“Inpro”) that if the Motion is granted and the

  18   properties are sold, he will assert that he holds a senior lien on two of the properties and

  19   is entitled to the proceeds from the sale of those two properties.

  20            Inpro’s stay relief motion filed at Docket No. 186 sought to foreclose on, among

  21   other properties, 4879 Linda Ave., Las Vegas NV 89120 (the “Linda Ave. Property”) and

  22   4891 W. Pay Roll Ave., Chloride, AZ 86431 (the “Pay Roll Ave. Property”). The

  23   Trustee’s Motion recognizes that there may be liens against the properties that are senior

  24   to Inpro’s liens, and the debts secured by those senior liens should be satisfied before

  25   Inpro’s debt is satisfied. See Motion, Dkt. 205, at 4, n.1. The two properties listed above

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   1   secure a loan that Youngman made to Bailey, and Youngman’s liens on these properties

   2   are senior to Inpro’s liens.

   3            In 2009, Youngman loaned the Debtor $100,000, and as security for repayment of

   4   the loan, the Debtor granted Youngman a first position deed of trust against the Linda

   5   Ave. Property. The Debtor also promised to secure the loan by granting a promised

   6   second deed of trust against the Pay Roll Ave. Property. Youngman was granted the first

   7   position deed of trust against the Linda Ave. Property but never received the second deed

   8   of trust to the Pay Roll Ave. Property. Youngman was fraudulently induced into signing

   9   a deed reconveying the Linda Ave. Property to the Debtor. Youngman signed the deed of

  10   reconveyance because he was told he had to in order to get paid. Unbeknownst to

  11   Youngman, the reconveyance was recorded. This fraudulent deed of reconveyance was

  12   future dated for March 24, 2020 and therefore should not have been notarized, nor should

  13   it have been recorded. The Debtor never satisfied the debt, and the debt continues to

  14   accrue interest.

  15            If these properties are sold, the proceeds from the sale should be held in trust by

  16   the Trustee until a determination is made as to who is entitled to the proceeds.

  17   Youngman will prove that he holds senior liens on these properties under the equitable

  18   lien doctrine. The Debtor owes Youngman a debt, secured by an equitable lien in the two

  19   properties that the Debtor agreed would secure Youngman’s loan. See, et seq., 51 Am.

  20   Jur. 2d Liens § 34. The Debtor has failed to satisfy the debt owed to Youngman, and

  21   Youngman has no adequate remedy at law to satisfy the debt. See id. Youngman will

  22   prove that his liens are senior to Inpro’s liens and that he is entitled to the proceeds from

  23   the sale of these two properties after the property is sold with liens to attach to the

  24   proceeds.

  25   ///

  26   ///

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   1            RESPECTFULLY SUBMITTED this 14th day of June, 2017.

   2                                               TIFFANY & BOSCO, P.A.
   3
                                                   By: /s/ Christopher R. Kaup, #014820
   4
                                                       Christopher R. Kaup
   5                                                   Justin P. Nelson
                                                       Attorneys for Loren and Margaret
   6                                                   Youngman

   7    FOREGOING electronically filed with the
        Clerk of United States Bankruptcy Court
   8    this 14th day of June, 2017.
   9    COPIES served by the Court’s electronic
        notification system if marked with and “*”
  10
        or otherwise mailed on this or the next
  11    business day to:
                                                      Terry A. Dake, LTD.
        James Bradley Bailey                          20 E. Thomas Rd., Suite 2200
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  17    U.S. Trustee’s Office*                        Chapter 7 Panel Trustee*
                                                      Lakshmi Jagannath
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        Association, as Successor Trustee to
        Citibank, N.A., as Trustee for Bear Stearns   Creditor Deutsche Bank National Trust
  20                                                  Company, as Trustee for GSAA Home Equity
        Asset Backed Securities Trust 2007-2, Asset
                                                      Trust 2006-16; Creditor Seterus, Inc.; Creditor
  21    Backed Certificates, Series 2007-2*           Wells Fargo Bank, N.A.*
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                                                      Creditor CIT Bank, N.A. fka OneWest Bank*
  25
       /s/ Louis A. Lofredo
  26

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